                 IN THE UNITED STATES DISTRICT COURT
             FOR THE MIDDLE DISTRICT OF NORTH CAROLINA


 SYLVESTER ALLEN, JR., et al.,

              Plaintiffs,
                                              1:20–cv–0997-CCE-LPA
 v.

 CITY OF GRAHAM, et al.,

              Defendants.


                            STIPULATION OF DISMISSAL

      All parties to the above-captioned action (the “Allen Action”), acting through

counsel and pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), hereby stipulate,

in consideration of a negotiated settlement executed between them, to the Dismissal with

Prejudice of the Allen Action, with each party to bear its own attorneys’ fees and costs.

For the avoidance of doubt, this Stipulation of Dismissal is in the Allen Action only and

does not impact the separate action captioned Drumwright, et al. v. Cole, et al., 1:20-CV-

00998, which was consolidated with the Allen Action.

Dated: June 25, 2021                         Respectfully submitted,

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                             CERTIFICATE OF SERVICE

       This is to certify that the undersigned has this day filed the foregoing Stipulation of
Dismissal with the Clerk of Court using the CM/ECF system, which will send electronic
notification of such filing to the following attorneys of record in the consolidated actions:

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